Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 1 of 13 Page ID #:9




                  EXHIBIT A




                                                                 EXHIBIT A
                                                                   Page 9
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 2 of 13 Page ID #:10
                   *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club - set number BGUS_1264511 - 10 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club
 Search Results: Displaying 1 of 1 entries




                   *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club - set...

               Type of Work: Visual Material
 Registration Number / Date: VA0002120516 / 2018-09-08
            Application Title: *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club - set number
                               BGUS_1264511 - 10 images
                        Title: *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club - set number
                               BGUS_1264511 - 10 images. [Group registration of published photographs. 10
                               photographs. 2018-06-16 to 2018-06-16]
                  Description: 10 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-06-16 to 2018-06-16
  Nation of First Publication: United States
  Authorship on Application: Salvador Ramos; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in June 2018 (10 photographs): 13378783, 13378784, 13378785, 13378786,
                               13378787, 13378788, 13378903, 13378904, 13378905, 13378906
                      Names: Ramos, Salvador
                               BackGrid USA, Inc.




                                                Save, Print and Email (Help Page)
                       Select Download Format Full Record                         Format for Print/Save

                       Enter your email address:                                                             Email




                                             Help Search History Titles Start Over


2018-09-27 09:03:55                                                                                                             Page 1 of 2
                                                                                                                          EXHIBIT A
                                                                                                                            Page 10
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 3 of 13 Page ID #:11
                  *EXCLUSIVE* Amelia Gray Hamlin kisses a mystery man outside the club - set number BGUS_1264511 - 10 images
Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2018-09-27 09:03:55                                                                                                            Page 2 of 2
                                                                                                                         EXHIBIT A
                                                                                                                           Page 11
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 4 of 13 Page ID #:12
          *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to lunch on Fathers day - set number BGUS_1265590 - 19 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title =
 *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to lunch on
 Search Results: Displaying 1 of 1 entries




                  *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to...

               Type of Work: Visual Material
 Registration Number / Date: VA0002122248 / 2018-09-14
            Application Title: *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to lunch
                               on Father’s day - set number BGUS_1265590 - 19 images
                        Title: *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to lunch
                               on Father’s day - set number BGUS_1265590 - 19 images. [Group registration of
                               published photographs. 19 photographs. 2018-06-17 to 2018-06-17]
                  Description: 19 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-06-17 to 2018-06-17
  Nation of First Publication: United States
  Authorship on Application: Gustavo Munoz; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in June 2018 (19 photographs): 13400099, 13400100, 13400101, 13400102,
                               13400103, 13400104, 13400105, 13400106, 13400107, 13400108, 13400109, 13400110,
                               13400111, 13400112, 13400113, 13400114, 13400115, 13400116, 13400117
                      Names: Munoz, Gustavo
                               BackGrid USA, Inc.




                                                   Save, Print and Email (Help Page)
                          Select Download Format Full Record                        Format for Print/Save

                          Enter your email address:                                                            Email




2018-10-17 09:01:01                                                                                                                    Page 1 of 2
                                                                                                                             EXHIBIT A
                                                                                                                               Page 12
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 5 of 13 Page ID #:13
         *EXCLUSIVE* *EXCLUSIVE*Delilah and Amelia Hamlin take dad Harry out to lunch on Fathers day - set number BGUS_1265590 - 19 images
                                              Help Search History Titles Start Over

Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2018-10-17 09:01:01                                                                                                                   Page 2 of 2
                                                                                                                            EXHIBIT A
                                                                                                                              Page 13
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 6 of 13 Page ID #:14
                   *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA rain - set number BGUS_1458584 - 9 images




                             The Library's catalogs are currently affected by performance issues.
                           Staff are investigating the problem. We apologize for any inconvenience
                                                          to our users.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA
 Search Results: Displaying 1 of 1 entries




                  *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA rain -...

               Type of Work: Visual Material
 Registration Number / Date: VA0002149126 / 2019-04-15
            Application Title: *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA rain - set
                               number BGUS_1458584 - 9 images
                        Title: *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA rain - set
                               number BGUS_1458584 - 9 images. [Group registration of published photographs. 9
                               photographs. 2019-01-16 to 2019-01-16]
                  Description: 9 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-01-16 to 2019-01-16
  Nation of First Publication: United States
  Authorship on Application: Gustavo Munoz; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2019 (9 photographs): 18441241, 18441242, 18441243, 18441244,
                               18441245, 18441246, 18441247, 18441248, 18441249
                      Names: Munoz, Gustavo
                               BackGrid USA, Inc.




                                                 Save, Print and Email (Help Page)

                        Select Download Format Full Record                         Format for Print/Save


                        Enter your email address:                                                              Email
2019-05-06 09:00:29                                                                                                                Page 1 of 2
                                                                                                                             EXHIBIT A
                                                                                                                               Page 14
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 7 of 13 Page ID #:15
                 *EXCLUSIVE* Amelia and Delilah Hamlin bundle up for a day in the LA rain - set number BGUS_1458584 - 9 images




                                            Help Search History Titles Start Over

Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2019-05-06 09:00:29                                                                                                              Page 2 of 2
                                                                                                                           EXHIBIT A
                                                                                                                             Page 15
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 8 of 13 Page ID #:16
           *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna and Kyle Richards - set number BGUS_1630212 - 46 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title =
 *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna and
 Search Results: Displaying 1 of 1 entries




                    *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna...

               Type of Work: Visual Material
 Registration Number / Date: VA0002171906 / 2019-09-16
            Application Title: *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna and Kyle
                               Richards - set number BGUS_1630212 - 46 images
                        Title: *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna and Kyle
                               Richards - set number BGUS_1630212 - 46 images. [Group registration of published
                               photographs. 46 photographs. 2019-06-19 to 2019-06-19]
                  Description: 46 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-06-19 to 2019-06-19
  Nation of First Publication: United States
  Authorship on Application: Hayk Arsham; Domicile: United States. Authorship: photographs.
     Rights and Permissions: Jon Nicolini, 433 N Camden Dr., 6th Floor, Beverly Hills, CA, 90210, United States, (323)
                               745-8444, jon@okularity.com
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in June 2019 (46 photographs): 21717325, 21717326, 21717327, 21717328,
                               21717329, 21717330, 21717331, 21717332, 21717333, 21717334, 21717335, 21717336,
                               21717337, 21717338, 21717339, 21717340, 21717341, 21717342, 21717343, 21717344,
                               21717345, 21717346, 21717347, 21717348, 21717349, 21717350, 21717351, 21717352,
                               21717353, 21717354, 21717355, 21717356, 21717357, 21717358, 21717359, 21717360,
                               21717361, 21717362, 21717363, 21717364, 21717365, 21717366, 21717367, 21717479,
                               21717480, 21717481
                      Names: Arsham, Hayk
                               BackGrid USA, Inc.




                                                    Save, Print and Email (Help Page)

                          Select Download Format Full Record                          Format for Print/Save
2019-10-03 09:00:26                                                                                                                       Page 1 of 2
                                                                                                                                EXHIBIT A
                                                                                                                                  Page 16
 Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 9 of 13 Page ID #:17
          *EXCLUSIVE* Khloe Kardashian and Kris Jenner exit a studio with Lisa Rinna and Kyle Richards - set number BGUS_1630212 - 46 images


                         Enter your email address:                                                               Email




                                               Help Search History Titles Start Over

Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2019-10-03 09:00:26                                                                                                                      Page 2 of 2
                                                                                                                               EXHIBIT A
                                                                                                                                 Page 17
Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 10 of 13 Page ID #:18
                  A slimmer looking Lisa Rinna leaves a foot massage parlor in Sherman Oaks - set number BGUS_1792022 - 29 images




                             Library buildings are closed to the public until further notice, but the
                                        U.S. Copyright Office Catalog is available. More.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = slimmer looking Lisa Rinna leaves a foot massage parlor in Sherman
 Search Results: Displaying 1 of 1 entries




                    A slimmer looking Lisa Rinna leaves a foot massage parlor in Sherman Oaks -...

               Type of Work: Visual Material
 Registration Number / Date: VA0002197513 / 2020-02-13
            Application Title: A slimmer looking Lisa Rinna leaves a foot massage parlor in Sherman Oaks - set number
                               BGUS_1792022 - 29 images
                        Title: A slimmer looking Lisa Rinna leaves a foot massage parlor in Sherman Oaks - set number
                               BGUS_1792022 - 29 images. [Group registration of published photographs. 29
                               photographs. 2019-11-18 to 2019-11-18]
                  Description: 29 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-11-18 to 2019-11-18
  Nation of First Publication: United States
  Authorship on Application: Luis Rodriguez; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in November 2019 (29 photographs): 24989091, 24989090, 24989089,
                               24989088, 24989087, 24989086, 24989085, 24989084, 24989083, 24989082, 24989081,
                               24989080, 24989079, 24989078, 24989077, 24989076, 24989075, 24989074, 24989073,
                               24989072, 24989071, 24989070, 24989069, 24989068, 24989067, 24989066, 24989065,
                               24989064, 24989063
                      Names: Rodriguez, Luis
                               BackGrid USA, Inc.




                                                 Save, Print and Email (Help Page)


                        Select Download Format Full Record                         Format for Print/Save
                        Enter your email address:                                                   Email
2020-08-12 13:23:54                                                                                                                 Page 1 of 2
                                                                                                                             EXHIBIT A
                                                                                                                               Page 18
Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 11 of 13 Page ID #:19
                       Enter
                 A slimmer      your
                           looking Lisaemail   address:
                                       Rinna leaves                                                           Email
                                                    a foot massage parlor in Sherman Oaks - set number BGUS_1792022 - 29 images




                                             Help Search History Titles Start Over

Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2020-08-12 13:23:54                                                                                                               Page 2 of 2
                                                                                                                           EXHIBIT A
                                                                                                                             Page 19
Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 12 of 13 Page ID #:20
             *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some shopping in Malibu - set number BGUS_1976081 - 50 images




                               Library buildings are closed to the public until further notice, but the
                                          U.S. Copyright Office Catalog is available. More.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title =
 *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some shopping
 Search Results: Displaying 1 of 1 entries




                         *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some...

               Type of Work: Visual Material
 Registration Number / Date: VA0002226318 / 2020-11-06
            Application Title: *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some shopping in
                               Malibu - set number BGUS_1976081 - 50 images
                        Title: *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some shopping in
                               Malibu - set number BGUS_1976081 - 50 images. [Group registration of published
                               photographs. 50 photographs. 2020-08-10 to 2020-08-10]
                  Description: 50 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2020
     Publication Date Range: 2020-08-10 to 2020-08-10
  Nation of First Publication: United States
  Authorship on Application: Adriano Camolese; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in August 2020 (50 photographs): 28599875, 28599874, 28599873, 28599872,
                               28599871, 28599870, 28599869, 28599868, 28599867, 28599866, 28599865, 28599864,
                               28599863, 28599862, 28599861, 28599860, 28599859, 28599858, 28599857, 28599856,
                               28599855, 28599854, 28599853, 28599852, 28599851, 28599850, 28599849, 28599848,
                               28599847, 28599846, 28599845, 28599844, 28599843, 28599842, 28599841, 28599840,
                               28599839, 28599838, 28599837, 28599836, 28599835, 28599834, 28599833, 28599832,
                               28599831, 28599830, 28599829, 28599828, 28599827, 28599826
                      Names: Camolese, Adriano
                               BackGrid USA, Inc.




                                                   Save, Print and Email (Help Page)

2020-12-08 09:01:25                                                                                                                          Page 1 of 2
                                                                                                                               EXHIBIT A
                                                                                                                                 Page 20
Case 2:21-cv-04779-MCS-E Document 1-1 Filed 06/11/21 Page 13 of 13 Page ID #:21
            *EXCLUSIVE* Lisa Rinna and her pretty family grab a bite and do some shopping in Malibu - set number BGUS_1976081 - 50 images

                         Select Download Format Full Record                         Format for Print/Save

                         Enter your email address:                                                              Email




                                               Help Search History Titles Start Over

Contact Us | Request Copies | Get a Search Estimate | Frequently Asked Questions (FAQs) about Copyright |
Copyright Office Home Page | Library of Congress Home Page




2020-12-08 09:01:25                                                                                                                         Page 2 of 2
                                                                                                                              EXHIBIT A
                                                                                                                                Page 21
